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[Type here]                       Ralph L. Sanders                  Case 19-bk-24331-PDR


                                    Motion for
Postponement of Hearing Scheduled for April 5, 2021, due to non-notification by
opposing counsel.




Dear Honorable Judge Peter D. Russin

UNITED STATES BANKRUPTCY COURT

United States Courthouse 299 E. Broward Blvd.

Courtroom: 301 / Chambers: Room 303

Fort Lauderdale, FL 33301

Bankruptcy Case 19-bk-24331-PDR                             Date: March 29, 2021




    I am requesting a postponement of the April 5, 2021 hearing Motion to

Compel for the following reasons.

1. I was supposed to receive notification of the April 5, 2021 hearing

    Motion to Compel 14 calendar days before the hearing. I never received

    the April 5, 2021 hearing for Motion to Compel per the United States

    Postal Service Informed. See exhibits 1-20,




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